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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                       JACKSONVILLE DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                         Case No. 3:18−bk−01164−JAF
                                                                               Chapter 11
Eihab H. Tawfik, M.D., P.A.
dba Christ Medical Center
dba Town Center Medical Celebration



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On April 11, 2018 the above named Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

           All Schedules A through J and the Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were either not filed, filed incomplete or filed using outdated
           forms as follows: ***ENTER SPECIFIC ISSUE HERE***. Pursuant to Fed. R. Bankr. P. 1007(b)
           and (c), the Debtor is directed to file the missing items with proper declaration of the Debtor no later
           than 14 days from the date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $31.00 amendment fee and provide proof of service of the Notice of Chapter 11
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.


           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Chapter 11 Statement of Your Current Monthly Income pursuant to Fed. R. Bankr. P. 1007
           (b)(4)(5)(6) and 11 U.S.C. § 521(a)(1)(B)(v) was not filed. The Debtor is directed to file a signed
           Chapter 11 Statement of Your Current Monthly Income (Official Form B122B) within 14 days from
           the date the petition was filed. A link to updated forms is available on the Court's website at
           http://www.flmb.uscourts.gov/forms/.

           The Debtor failed to file the Chapter 11 list of Twenty Largest Unsecured Creditors pursuant to Fed.
           R. Bankr. P. 1007(d) (Official Form B104 for Individuals and B204 for Non−Individuals) or it was
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filed without an original signature or proper electronic signature in compliance with Fed. R. Bankr. P.
9011(a) and/or Local Rule 9011−4. The Debtor is directed to file the list within seven days from the
date the petition was filed.

The Case Management Summary has not been filed or was filed without an original signature or
proper electronic signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4.
Pursuant to Local Rule 2081−1(b), the chapter 11 Debtor is directed to file a signed Case
Management Summary within the earlier of three business days following the petition date or the
date the Debtor−in−Possession filed a motion requesting affirmative relief.

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: April 12, 2018                  Sheryl L. Loesch , Clerk of Court
                                        300 North Hogan Street Suite 3−150
                                        Jacksonville, FL 32202


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
